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UNITED STATES DISTRICT COURT DOC #

SOUTHERN DISTRICT OF NEW YORK

 

 

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IN RE: ; MEMORANDUM DECISION
AND ORDER

03 MDL 1570 (GBD) (SN)

 

TERRORIST ATTACKS ON
SEPTEMBER 11, 2001

This document relates to:

Matthew Roewnhorst, et al. v, Islamic Republic of Iran, 18 Civ. 12387 (GBD) (SN)

Roberta Agyeman, et al. v. Islamic Republic of Iran, 18 Civ. 5320 (GBD) (SN)

Abel, et al. v. Islamic Republic of Iran, 18 Civ. 11837 (GBD) (SN)

Jessica DeRubbio, et al. v. Islamic Republic of Iran, 18 Civ. 5306 (GBD) (SN)

Chang Dom Kim, et al. v. Islamic Republic of Iran, 18 Civ. 11870 (GBD) (SN)
GEORGE B. DANIELS, United States District Judge

On August 20, 2019, the Agyeman, Abel, and DeRubbio Plaintiffs each separately
moved this Court to issue final judgments against the Islamic Republic of Iran and award
solatium damages for the losses suffered by certain non-immediate family members of
victims killed in the September 11, 2001 terrorist attacks. (See the Agyeman Pls.’ Notice of
Mot. for Partial Final J. Il, ECF No. 4914; the Abe/ Pls.’ Notice of Mot. for Partial Final
Default J. Il, ECF No. 4910; the DeRubbio Pls.’ of Mot. for Partial Final J. TL, ECF No.
4918)!

Subsequently on August 21, 2019, the Rowenhorst and Kim Plaintiffs each separately

moved this Court to issue final judgments against the Islamic Republic of Iran and award

solatium damages for the losses suffered by certain non-immediate family members of

 

1 All citations included herein refer to documents filed in the 9/11 multidistrict litigation docket. See
In ve Terrorist Attacks on September 11, 2001, 03 MDL 1570 (GBD) (SN).

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victims killed in the September 11, 2001 terrorist attacks. (See the Rowenhorst Pls.’ Notice
of Mot. for Partial Final J. U, ECF No. 4930; the Kim Pls.’ Notice of Mot. For Partial Final
J. Il, ECF No. 4934.)

In each motion, Plaintiffs principally argue that the listed claimants’ are the
“functional equivalents” of immediate family members of certain decedents. (See the
Rowenhorst Pls.’ Mem. of Law in Supp. of Mot. for Partial Final J. I, ECF No. 4931, at 9—
13; the Agyeman Pls.’ Mem. of Law in Supp. of Mot. for Partial Final J. II, ECF No. 4915,
at 8-10; the Abel Pls.’ Mem. of Law in Supp. of Mot. for Partial Final J. Il, ECF No. 491 1,
at 9-14; the DeRubbio Pls.’ Mem. of Law in Supp. of Mot. for Partial Final J. I], ECF No.
4919, at 8-14; the Kim Pls.’ Mem. of Law in Supp. of Mot. for Partial Final J. I, ECF No.
4935, at 11-18.) Before this Court is Magistrate Judge Sarah Netburn’s January 23, 2020
Report and Recommendation (the “Report”), recommending that this Court grant in part and
deny in part Plaintiffs’ motion, (Report, ECF No. 5735, at 12.) This Court ADOPTS
Magistrate Judge Netburn’s Report, as it pertains to Plaintiffs John Proodian, Reginald

Colon, Rosa Colon, Julio Masa Lebron, George A. Cuellar, and Rebecca Sue Loethen.?

 

2 Plaintiffs’ motions were addressed by this Court as they pertained to immediate family members’
claims for solatium damages. (See ECF Nos. 5152, 5125, 5124, 5123, and 5122.) The remaining
individuals for which this Court did not grant judgment include a total of thirteen claimants,
comprised of four step-relatives, three spousal equivalents, and six aunts of various individuals killed
in the September 11, 2001 terrorist attacks.

3 On January 29, 2020, Plaintiffs filed a letter requesting an extension of time to object to the Report
and indicating that this request applied solely to plaintiffs Diana P. Castano, Margaret Ann Williams,
Christine Wilson, Katherine Wynn, Edith Otelia Harris, the Estate of Lelia Wynn, and the Estate of
Dorothy Lee Coles. (ECF No. 5759.) This Court granted that request on February 6, 2020, (ECF
No. 5869). Therefore, at this time, this Court will reserve judgment on the plaintiffs named in the
February 29, 2020 letter.

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I. LEGAL STANDARDS

A court “may accept, reject, or modify, in whole or in part, the findings or
recommendations” set forth in a magistrate judge’s report. 28 U.S.C. § 636(b)(1)(C). The
Court must review de novo the portions of a magistrate judge’s report to which a party
properly objects. Jd Portions of a magistrate judge’s report to which no or “merely
perfunctory” objections are made are reviewed for clear error. Edwards v. Fischer, 414
F, Supp. 2d 342, 346-47 (S.D.N.Y. 2006) (citation omitted). Clear error is present only
when “upon review of the entire record, [the court is] left with the definite and firm
conviction that a mistake has been committed.” United States v. Snow, 462 F.3d 55, 72 2d
Cir. 2006) (citation omitted),

No party has filed any objections. Accordingly, this Court reviews the Report for

clear error.

Il. MAGISTRATE JUDGE NETBURN PROPERLY APPLIED THE FUNCTIONAL
EQUIVALENTS FRAMEWORK TO THE PLAINTIFFS

On July 30, 2012, Magistrate Judge Frank Maas established a framework to award
solatium damages to immediate family members of a September 11, 2001 decedent, which
this Court adopted on October 3, 2012. (R. & R. to the Honorable George B. Daniels, ECF
No. 2618, adopted by Mem. Decision and Order, ECF No. 2623.) This framework
specifically outlined the solatium awards for a decedent’s spouse, parent, child, and sibling,

and is as follows:

 

 

 

Relationship to Decedent Solatium Award
Spouse $12,500,000
Parent $8,500,000

 

 

 

 

 
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Child $8,500,000

 

Sibling $4,250,000

 

 

 

 

(id.) This Court later detailed a framework for granting solatium damages to non-immediate
family members of September 11, 2001 victims, which allows individuals to recover so long
as they are “functional equivalents” of immediate family members. (See Report at 1 (citing
Hogtan If, R. & R. dated Oct. 14, 2016, ECF No. 3363, adopted by Mem. Decision and Order
dated Oct. 31, 2016, ECF No. 3384; Hoglan IV, R. & R, dated Aug. 8, 2017 (“Hoglan IV
Report”), ECF No. 3676, adopted by Mem. Decision and Order dated Nov. 17, 2017, ECF
No. 3795).)

A. The Report Properly Determined That the Plaintiffs Are Functional Equivalents
of Immediate Family Members to the Decedents.

The Report accurately describes and analyzes cach plaintiff's relationship with the
relevant decedent, and properly finds that cach Plaintiff is a functional equivalent of an
immediate family member. Magistrate Judge Netburn appropriately found that each Plaintiff
is entitled to the solatium damages amounts listed in Exhibit A. (Report at 2-11.) Finally,
Magistrate Judge Netburn accurately found that “Plaintiffs should be awarded prejudgment
interest on these damages from September 11, 2001, through the date of judgment, at a rate

of 4.96 percent per annum, compounded annually.” (/d. at 12.)

HI. CONCLUSION

Plaintiffs’? Motion for Final Judgments, (ECF Nos. 4930, 4914, 4910, 4918, and
4934), are GRANTED as they pertain to Plaintiffs John Proodian, Reginald Colon, Rosa

Colon, Julio Masa Lebron, George A. Cuellar, and Rebecca Sue Loethen, It is

 
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ORDERED that the Plaintiffs identified in the attached Exhibit A are awarded
judgment for solatium damages as set forth in Exhibit A; and it is

ORDERED that prejudgment interest is awarded to be calculated at a rate of 4.96
percent per annum, all interest compounded annually over the same period; and it is

ORDERED that the Plaintiffs not appearing on Exhibit A and who were not
previously awarded damages may submit in later stages applications for solatium and/or
economic damages awards that may be approved on the same basis as currently approved
for those Plaintiffs appearing on Exhibit A or in prior filings.

The Clerk of Court is directed to close the motions for which this Court has not
granted extensions of time for plaintiffs to object in 03 MDL 1570, (ECF Nos. 4930, 4914,
and 4918), 18 Civ. 12387, (ECF No. 34), 18 Civ. 5320 (ECF No. 84), and 18 Civ. 5306 (ECF

No. 85), accordingly.

Dated: February 14, 2020
New York, New York
SO ORDERED.

Paty. 6b Donel,

GEOR B. DANIELS
Walited S¥ates District Judge

 

 

 
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EXHIBIT A
  
    

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Richard Thomas John Proodian : Stepchild $8,500,000
Muldowney, Jr.
2 Jaime Concepcion Reginald Colon Stepchild $8,500,000
3 Jaime Concepcion Rosa Colon Stepchild $8,500,000
5 Ana M. Centeno Julio Masa Lebron Stepfather $8,500,000
6 Luke Dudek George A. Cuellar Spousal Equivalent $12,500,000
7 Julie Marie Geis Rebecca Sue Loethen Spousal Equivalent $12,500,000

 

 

 
